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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION

UNITED STATES OF AMERICA

v. Criminal No. 3: 13MJ 293

JOSHUA CLAYTON BRADY

TEMPORARY DETENTION ORDER
Based on the nature and seriousness of the offense charged, it is ORDERED that:

1. A Detention Hearing be held.

2. The hearing be held at the United States District Court, Richmond, Virginia,
on Monday, July l, 2013 at 10:00 a.m.

3. The defendant is committed to the custody of the Attomey General of the
United States pursuant to 18 U. S.C. Section 3142(f) for confinement in a corrections
facility, separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal.

4. The defendant be afforded reasonable opportunity to consult With his attorney.

5. The person in charge of the corrections facility deliver the defendant to the
United States Marshal on order of a Court of the United States or on request of an

attorney for the government

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6. The person in charge of the corrections facility deliver the defendant to the
United States Marshal and the United States Marshal produce the defendant before this
Court on Monday, July l, 2013 at lO:OO a.m. for further proceedings

7. The Preliminary Hearing shall be held at the same time as the Detention
Hearing unless otherwise objected to by either party.

Let the Clerk send a copy of this order to all counsel of record and to the United
States Marshal for this District.

/s/ H"/

David J. Novak "/
United States Magistrate Judge

Dated: June 27, 2013

